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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


ALABAMA POWER COMPANY
600 18th St. N.
Birmingham, AL 35203                    Civil Action No.

GEORGIA POWER COMPANY                   Judge
241 Ralph McGill Blvd. NE
Atlanta, GA 30308-3374

and
                                        COMPLAINT
MISSISSIPPI POWER COMPANY
2992 W. Beach Blvd.
Gulfport, MS 39501
                                        JURY TRIAL DEMANDED
                      Plaintiffs,

           v.

UNION PACIFIC RAILROAD COMPANY
1400 Douglas Street
Omaha, NE 68179

BNSF RAILWAY COMPANY
2650 Lou Menk Drive
Fort Worth, TX 76131

CSX TRANSPORTATION, INC.
500 Water Street
Jacksonville, FL 32202

and

NORFOLK SOUTHERN RAILWAY
COMPANY
Three Commercial Place
Norfolk, VA 23510

                      Defendants.
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                                          COMPLAINT
       Plaintiffs Alabama Power Company (“APC”), Georgia Power Company (“GPC”), and

Mississippi Power Company (“MPC”) (collectively “Plaintiffs”), all subsidiaries of The

Southern Company, bring this action under the antitrust laws of the United States against

defendants Union Pacific Railroad Company (“UP”), BNSF Railway Company (“BNSF”), CSX

Transportation, Inc. (“CSX”) and Norfolk Southern Railway Company (“NS”) (collectively,

“Defendants” or “Defendant Railroads”). Plaintiffs allege as follows:

                                         INTRODUCTION

       1.      This is an action under the Sherman and Clayton Acts for compensatory damages,

treble damages, and other relief against Defendants, the four largest Class I railroads in the

United States, jointly and severally, for illegally conspiring to use rail fuel surcharges as a

mechanism to fix, raise, maintain, and stabilize prices of rail freight transportation services sold

in the United States. Plaintiffs are electric utilities located in the southeastern United States that

operate coal-burning electric generation plants that power homes, businesses, hospitals, and

schools. To operate these plants, the Plaintiffs directly purchased from one or more of the

Defendants rate-unregulated1 rail freight transportation services for the huge volumes of coal and

other commodities often shipped long distances. Because of the conspiracy and its imposition of

the mechanism of fuel surcharges to raise artificially shipping prices, the Plaintiff utilities paid

hundreds of millions of dollars in overcharges. The Plaintiff utilities purchased transportation




1
  As used in this Complaint, “unregulated” refers to rail freight transportation services where the
rates are set by private contracts or through other means exempt from rate regulation under
federal law.



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services through long-term contracts, meaning that they often paid excessive rates through the

duration of those agreements.

       2.      Prior to deregulation of the railroad industry that began in the early 1980s with the

Staggers Rail Act of 1980 (“Staggers Act”), rail freight was transported by numerous federally-

regulated railroads in accordance with rates published in tariffs filed with the Interstate

Commerce Commission (“ICC”). During this period, Defendants could apply to the ICC for

across-the-board rate increases. But after the Staggers Act and deregulation, railroad rates for

shippers became subject to negotiation. By the early 2000s, the Defendant railroads were unable

to obtain unilaterally higher rates from their customers to increase revenues and no longer had

the means to institute across-the-board rate increases.

       3.      Given these dynamics, the railroads concluded that they could increase overall

prices through the mechanism of a fuel surcharge applied to as many shipments and customers as

possible. They also determined that joint action was necessary to implement successfully this

scheme. Absent coordination, industry-wide agreement, and a uniform front, a railroad seeking

to impose a fuel surcharge more aggressively than its competitors would risk losing business to

another railroad that imposed no fuel surcharge at all, applied a less onerous fuel surcharge, or

had more flexible fuel surcharge policies. Uniformity also ensured the Defendants could justify

their fuel surcharges as “standard” in the industry in response to objections by rail customers.

       4.      The railroad industry by the early 2000s was also highly concentrated. Before the

Staggers Act, approximately 35 Class I railroads operated within the United States. (“Class I”

railroads are the largest nationwide freight railroads in the United States by annual revenues.)

After the Staggers Act, the freight rail industry experienced dramatic consolidation. By the early

2000s, there were only seven Class I railroads operating in the United States. Defendants were at



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that time, and are today, by far the largest of the remaining Class I railroads, which collect about

90% of all rail freight revenue in the United States.

           5.    The highly concentrated nature of the freight rail industry made it possible for

Defendants in 2003 to conspire and agree to impose an artificially high surcharge structure,

purportedly to cover fuel costs, as the means to raise rates across the board and thereby increase

profits. Prior to the unlawful agreement, Defendants had individually experimented with fuel

surcharges by establishing public fuel surcharge programs for certain traffic. However, these

provisions were not applicable to contracts unless specifically incorporated or referenced in the

contract itself. Therefore, the contract traffic at issue in this case was almost never subject to a

fuel surcharge provision before the unlawful agreement. Even if a fuel surcharge provision

applied to traffic, the pre-agreement fuel surcharge programs were not necessarily triggered or

enforced. Moreover, these programs relied upon a wide variety of methods and formulas – many

of which were not percentage-based – in contrast to the later unlawful agreement which resulted

in widespread application of a percentage-based fuel surcharge to the base rates for contract

traffic.

           6.    Beginning in or around the start of 2003, the Defendants agreed to coordinate

their fuel surcharges and base them not on the actual amount of fuel usage or cost, but instead on

a percentage of the base rate charged to the shipper, with that percentage determined and applied

in addition to other rate adjustment formulas or methods that had customarily addressed changes

in fuel prices. The President and CEO of UP stated in a July 2007 interview that the new rail

fuel surcharges as applied to rail freight were “really unique to the railroad industry. Three, four

years ago they were really non-existent.”




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       7.      The surcharge mechanism also had an aggressive triggering point, or “strike

price,” which ensured that fuel surcharges would virtually always be applied based upon fuel

prices at the time of contracting. The concept of fuel surcharges also was intended to disguise

their intended effect and provided the railroad Defendants a pretext for the additional charges.

       8.      Defendants’ conspiracy occurred through, and was facilitated by, an extraordinary

number of communications, conversations, and meetings, often between and among high-level

railroad executives. These communications, and the Defendant Railroads’ efforts to impose and

enforce coordinated fuel surcharges, began at least as early as the spring of 2003. In these

communications, Defendants agreed to coordinate those fuel surcharges and apply them as

widely as possible, as uniformly as possible, and to as many freight shipments as possible. They

also agreed to limit or avoid negotiating the application and terms of the surcharges. The

Defendants also discussed fuel surcharges at meetings of the Association of American Railroads

(“AAR”) and other industry meetings, including the National Freight Transportation Association

biannual meeting.

       9.      The Defendant Railroads began to implement their scheme in 2003. By June

2003, UP, which had based its prior, published fuel surcharge program on a West Texas

Intermediate Index (“WTI Index”), switched to the index that was being used by BNSF’s

program, the U.S. Department of Energy On-Highway Diesel Fuel Price Index (“HDF Index”).

Thereafter, if the HDF Index reported a change in the average price of diesel fuel above a set

“trigger price,” BNSF and UP would each adjust their fuel surcharge percentage in a similar

increment. Crucially, BNSF and UP began incorporating or referencing their published fuel

surcharge programs into contracts as broadly as possible or otherwise including fuel surcharge




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provisions in as many contracts as possible. This allowed UP and BNSF to apply similar fuel

surcharge percentages to freight transportation. This change was a result of the conspiracy.

       10.     At the same time, Defendant CSX, pursuant to the conspiracy, agreed to impose a

percentage-based fuel surcharge as broadly as possible. In mid-2003, CSX also announced that

its fuel surcharge program would entail application of a fuel surcharge based on the monthly

average of WTI Index prices in the second prior month, a method that had also been adopted by

UP and BNSF for applying their programs using the HDF Index price. Like BNSF and UP, CSX

began including percentage-based fuel surcharges in as many contracts as possible.

       11.     Pursuant to the conspiracy, NS also agreed during 2003 to impose a percentage-

based fuel surcharge on contract traffic as broadly as possible. NS made certain revisions to its

fuel surcharge formula in early 2004, but could not immediately switch all contract traffic to its

new program because NS had previously encoded its original fuel surcharge directly in some

publications and contracts, which hampered its ability to rapidly change to the new fuel

surcharge for all traffic. Like CSX, NS utilized the WTI Index for its fuel surcharge program

and implemented it as broadly as possible.

       12.     In furtherance of the conspiracy, Defendants each applied the rail fuel surcharge

the same way, namely, as a percentage multiplier of the total base rate for rail freight

transportation. That meant, for example, that if the applicable fuel index (i.e., the HDF or the

WTI) resulted in a 20% surcharge on the base rate, the “all-in” rate charged to the customer for

the transportation would be increased by 20%, even though fuel accounted for just a portion of

the total rail freight transport cost incurred by the railroad. Defendants’ agreement to adopt this

approach resulted in their earning billions of dollars in additional profits.




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       13.     Because many shippers (including the Plaintiff utilities) purchased shipping by

means of long-term contracts, the Defendant Railroads were stymied in immediately imposing

their new fuel surcharge plan for shipments under those pre-existing multi-year contracts. To

address this set of circumstances, Defendants took a variety of steps. Defendants required a fuel

surcharge in new replacement contracts and dedicated themselves to this effort once the pre-

existing contracts expired or were open to renegotiation. Where possible, Defendants sought to

incorporate fuel surcharge language in amendments to pre-existing contracts so that the

supracompetitive profits could be secured before the expiration date of the pre-existing contracts.

       14.     In order to facilitate implementation of these more uniform fuel surcharges,

Defendants also changed the existing methodology often used for adjusting freight rates. As of

2003, many rail freight transportation contracts incorporated rate adjustment provisions that

included a variety of weighted cost factors, including fuel, based on an index called the All

Inclusive Index (“AII”) and a related index called the Rail Cost Adjustment Factor (“RCAF”),

which were both published by the AAR, the railroad trade organization. Some agreements did

not rely on RCAF or AII for rate adjustment, but used other cost-based indexes that similarly

encompassed fuel costs. The AII, the RCAF, and the other cost-based indexes already permitted

recovery by the Defendants of actual fuel cost increases, no matter how large. A cost index (like

the AII or RCAF) that accounted for increases in the cost of fuel hampered the Defendants’

ability to justify the fuel surcharges that they implemented in their conspiracy.

       15.     To address and overcome the existing freight rate adjustment formulas that

already accounted for fuel costs, Defendants designed and commenced a scheme to remove fuel

from the AII. Defendants conspired to take collective action through the AAR that would

facilitate modification of the rate adjustment provisions in their contracts with freight customers.



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At AAR meetings in the Fall of 2003, Defendants conspired to cause the AAR to develop and

publish a new rail cost index with fuel removed called the All Inclusive Index Less Fuel

(“AIILF”). A senior officer of BNSF admitted in a 2005 letter that BNSF’s Chairman, President,

and CEO had compelled the AAR to adopt in 2003 the new index without fuel, something that

had never been done before but would “tremendously help” the bottom line for years to come.

This collective action in December 2003 facilitated the Defendants’ imposition of the new,

separate, and artificially high rail fuel surcharges on their customers.

       16.     Defendants maintained their conspiracy by uniformly computing the surcharges

as a percentage of the rail freight transport base rate and further by agreeing upon similar trigger

points for adjusting the percentages monthly. Defendants also published their rail fuel

surcharges on their websites to facilitate coordination and the exposure of any nonconformity

with the uniform pricing scheme. Defendants applied their fuel surcharge programs as widely as

possible and sought to limit deviation from these programs. Defendants also aimed to not

undercut each other on fuel surcharge percentages, even though the surcharges far exceeded their

actual increases in fuel costs.

       17.     The Defendants also took other collective action to enforce the conspiracy and

make it effective. Each Defendant tracked its success towards 100% coverage. Discipline

within the conspiracy was maintained by the exchange of coverage data and regular inter-

Defendant discussions concerning fuel surcharges and their uniform application. When a

Defendant’s executives informed other Defendants’ executives about the possibility of deviating

from the scheme, they faced strong opposition.

       18.     The Defendants also imposed similar fuel surcharges in their posted tariffs, which

applied to regulated rates for transportation services that were not subject to specific customer



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contracts. In early 2007, the Surface Transportation Board (“STB”), which has authority over

rate-regulated freight traffic (unlike the unregulated contract freight at issue here), found that

Defendants’ rail fuel surcharge programs were “unreasonable” because they were not tied to the

railroads’ actual cost of fuel. The STB found that “a fuel surcharge program that increases all

rates by a set percentage stands virtually no prospect of reflecting the actual increase in fuel

costs.” In particular, the STB determined that the Defendants were “imposing rate increases”

through use of their so-called fuel surcharge programs. The STB found this action was “a

misleading and ultimately unreasonable practice,” because “there is no real correlation between

the rate increase and the increase in fuel costs for that particular movement to which the

surcharge is applied.” Rail Fuel Surcharges, STB Ex Parte No. 661 (served January 26, 2007),

slip op. at pp. 6-7. The STB’s ruling applied only to rate-regulated freight traffic, but involved

the same type of rail fuel surcharge programs imposed on rate-unregulated shipments.

       19.     An independent 2007 study commissioned by the American Chemistry Council

(“ACC”) and Consumers United for Rail Equity (“CURE”) found that the Defendants received

over $6 billion more in rail fuel surcharge revenue (as publicly reported or estimated) than they

spent in publicly-reported actual fuel costs during the period from 2003 through the first quarter

of 2007.

       20.     Defendants conspired and agreed to use the mechanism of a broadly imposed,

percentage-based rail fuel surcharge, under the guise of recovering their actual fuel costs, as the

means to raise rates across the board and reap billions of dollars in supracompetitive profits. As

a direct and proximate result of the illegal price-fixing conspiracy alleged herein, Defendants

restrained competition in rate-unregulated rail freight transportation services in the United States,

unreasonably restrained and affected interstate commerce, and injured Plaintiffs in their business



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and property. Plaintiffs paid higher prices for unregulated rail freight transportation than they

would have paid absent the concerted unlawful and anticompetitive activity alleged herein, and

continued to pay unlawfully high prices as a result of contracts entered into during the relevant

period.

                                               PARTIES

          21.     Plaintiffs consist of (1) entities that purchased and/or contracted for rate-

unregulated rail freight transportation services directly from Defendants and paid rail fuel

surcharges in connection with those services, and (2) entities that are successors-in-interest or

assignees of such purchasers and/or contractors.

          22.     APC is an Alabama corporation, with its principal place of business at 600 18th

Street North, Birmingham, AL 35203. APC is a subsidiary of The Southern Company

(“Southern”), serving 1.4 million homes, businesses, industries, and other customers in the

southern two-thirds of Alabama.

          23.     GPC is a Georgia corporation, with its principal place of business at 241 Ralph

McGill Blvd. NE, Atlanta, GA 30308. GPC is a subsidiary of Southern, and GPC operates as a

vertically integrated utility providing electric service to 2.5 million retail customers within its

traditional service territory located within the State of Georgia and to wholesale customers in the

Southeast. Pursuant to a 2006 acquisition, GPC is the successor-in-interest to the Savannah

Electric and Power Company (“Savannah Electric”), which was a utility subsidiary of Southern

that previously operated in eastern Georgia.

          24.     MPC is a Mississippi corporation with its principal place of business at 2992

West Beach Blvd., Gulfport, MS 39501. MPC is a subsidiary of Southern and provides electric

service to most of the cities, towns, and communities within the 23 counties of southeastern

Mississippi.
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       25.     Defendant UP is a Utah corporation with its principal place of business at 1400

Douglas Street, Omaha, NE 68179. UP is the largest Class I freight railroad in the United States

and operates primarily in the central and western United States. UP maintains an office at 700

13th Street, N.W., Suite 350, Washington, DC 20005.

       26.     Defendant NS is a Virginia corporation with its principal place of business at

Three Commercial Place, Norfolk, VA 23510. NS is a Class I freight railroad operating

primarily in the eastern United States. NS maintains a government relations office at One

Constitution Ave., N.E., Suite 300, Washington, DC 20002.

       27.     Defendant BNSF is a Delaware corporation with its principal place of business at

2650 Lou Menk Drive, Fort Worth, TX 76131. BNSF is the second largest railroad in North

America and operates 32,000 miles of railroad primarily in the central and western United States,

as well as rail lines that extend into several southeastern states and the Canadian province of

British Columbia. BNSF maintains a government affairs office at 500 New Jersey Ave., N.W.,

Suite 550, Washington, DC 20001.

       28.     Defendant CSX is a Virginia corporation with its principal place of business at

500 Water Street, Jacksonville, FL 32202. CSX is a Class I freight railroad operating primarily

in the eastern United States and Canada. CSX maintains a government relations office at 1331

Pennsylvania Ave., N.W., Suite 560, Washington, DC 20004.

                                 JURISDICTION AND VENUE

       29.     This action is brought under Section 4 of the Clayton Act, 15 U.S.C. §§ 15 and

26, to recover treble damages and attorneys’ fees and costs from Defendants for the injuries

sustained by Plaintiffs because of Defendants’ violations of Section 1 of the Sherman Act, 15

U.S.C. § 1. This Court has federal question jurisdiction over the subject matter of this action



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pursuant to 15 U.S.C. § 4 (Sherman Act jurisdiction), 15 U.S.C. §§ 15 & 26 (Clayton Act

jurisdiction), 28 U.S.C. § 1331 (general federal question jurisdiction), and 28 U.S.C. § 1337

(antitrust jurisdiction).

        30.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 and 15 U.S.C.

§§ 15(a) and 22 because Defendants transacted business and/or had agents in this District during

the conspiracy and a substantial part of the events giving rise to the claim occurred in this

District.

        31.     This Court has personal jurisdiction over the Defendants because they transact

business, maintain offices or are found within this judicial district, have substantial aggregate

contacts with this judicial district, and engaged in illegal conduct that was directed at and had the

intended effect of causing injury to Plaintiffs. The wrongful conduct alleged in this Complaint

was carried out in part within this judicial district.

                            INTERSTATE TRADE AND COMMERCE

        32.     Throughout the conspiracy, there was a continuous and uninterrupted flow of

interstate trade and commerce throughout the United States in Defendants’ sale of rail

transportation to shippers and customers throughout the United States. Each Defendant used

instrumentalities of interstate commerce to sell, market, and provide rail freight transportation

services. Defendants’ unlawful activities have had a direct, substantial, and reasonably

foreseeable effect on interstate commerce.

                                  THE ILLEGAL CONSPIRACY

       PRE-CONSPIRACY PERIOD: DEREGULATION AND CONSOLIDATION

        33.     In 1980, Congress introduced competition into the rail transportation industry by

passing the Staggers Act, which significantly deregulated freight rail pricing. Before the

Staggers Act, freight railroads generally charged published tariff rates filed with the ICC. Rate

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increases could be achieved by obtaining ICC approval for new tariffs, which implemented

across-the-board rate changes on a collective basis for Defendants and other Class I railroads.

       34.     The Staggers Act dramatically changed the competitive environment for United

States railroads, which had been subject to regulatory control over nearly all aspects of their

economic operations for decades. After the Staggers Act, railroads could negotiate and set rates

for rail transportation but could no longer apply to the ICC for across-the-board freight rate

increases. By 2000, at least 70% of all rail shipments were subject to private contracts that were

not rate-regulated.

       35.     Since the implementation of the Staggers Act, the number of Class I railroads has

declined dramatically. In 1980, there were approximately 35 railroads operating in the United

States that were designated by the ICC as Class I railroads. Subsequent to a period of

consolidation after passage of the Staggers Act, there were, and still are, only seven Class I

railroads. The Class I railroads operating in the United States are: (1) BNSF, (2) UP, (3) CSX,

(4) NS, (5) Kansas City Southern Railway Company, (6) Soo Line Railroad Company, and (7)

Grand Trunk Corporation. Soo Line Railroad is owned by Canadian Pacific Railway, and Grand

Trunk Corporation is owned by the Canadian National Railway.

       36.     The railroad industry is highly concentrated. Defendants BNSF, UP, CSX, and

NS operate approximately 70% of all railroad track in the United States and in 2006 accounted

for nearly $50 billion in total annual revenue. Given the high fixed costs and the barriers to entry

in the railroad industry, including, for example, the need to obtain locomotives and other

equipment, acquire property rights, develop a network of tracks, yards, and facilities, as well as

substantial regulatory and environmental burdens, there is only a fringe or niche market of small

carriers and the competition offered by these small carriers is negligible.



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       37.     While the goal of railroad industry deregulation, namely to introduce competitive

forces, may have been fulfilled for some period leading to the early 2000s, railroad consolidation

and other factors created a situation that was highly susceptible to collusion.

             DEFENDANTS AGREE TO INTRODUCE FUEL SURCHARGES
                         AND FIX SHIPPING PRICES

       38.     Competition in the railroad industry resulted in declining pricing through the early

2000s, and the Defendants were frustrated by their inability to raise prices in this environment.

As one BNSF executive commented in 2002: “We need to be able to achieve rate improvement.

How can we do this if the other competing railroads do not do this at the same time?”

       39.     By the early 2000s, industry consolidation made additional mergers unlikely, if

not impossible. In response to the proposed merger of the Burlington Northern and Santa Fe

Railway and Canadian National Railway in 2000, the STB announced a moratorium on new

mergers and promulgated more stringent standards for merger review.

       40.     Because of deregulation, Defendants lacked legal means to implement across-the-

board price increases. Increased rates also could not be pursued through further consolidation in

light of the STB’s more stringent review of rail mergers. Consequently, the only feasible way

that railroads could increase prices across-the-board was through the mechanism of a uniform

surcharge applied to as many customers as possible. Under the guise of a solution to rising fuel

costs, the Defendants colluded to create and jointly impose percentage-based rail fuel surcharges

as a means to achieve what effectively were across-the-board rate increases.

       41.     Since passage of the Staggers Act in 1980, railroads had increasingly entered into

private freight transportation contracts that included rate adjustment provisions often tied to the

AII and the RCAF (which is based on the AII) or to another cost-based index that included fuel

costs. Both the RCAF and the AII were published by the AAR, and both indexes included fuel


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costs as a factor. The AII and RCAF weighted a number of cost factors – labor, fuel, materials

and supplies, equipment rents, depreciation, interest, and other expenses – so that the actual

impact of particular cost increases (e.g., for fuel) would be reflected in the index. Any actual

increase in fuel costs, no matter how large, would be captured in the AII and RCAF. The

indexes, and the weighted factors within them, were designed for this purpose.

       42.     Prior to 2003, at least some of the Defendants attempted to impose fuel surcharges

on rail freight transportation. But Defendants’ efforts to impose fuel surcharges were isolated

and inconsistent, with differing surcharge methods that reflected differing fuel costs and different

formulas for incorporating them as a rate surcharge. Defendants did not uniformly or

consistently include their fuel surcharges in contracts and, even when included, the fuel

surcharges were not necessarily triggered by fuel prices or enforced when triggered.

       43.     In 2003, Defendants conspired and agreed to use fuel surcharges as the means to

create an across-the-board rate increase. From at least the spring of 2003 through approximately

2008, Defendants adopted and implemented rail fuel surcharges through a series of coordinated

actions using common organization. To do so, the top executives of Defendants communicated

frequently and met regularly at restaurants and recreational and conference facilities, at AAR

board meetings in Washington, D.C., and at biannual meetings of the National Freight

Transportation Association (“NFTA”).

       44.     In April 2003, the NFTA meeting occurred at the Wigwam resort in Litchfield

Park, Arizona. Within months of the April 2003 NFTA meeting, BNSF and UP suddenly began

coordinating their rail fuel surcharges. Previously, UP’s fuel surcharge was adjusted monthly

based on the WTI Index, while BNSF’s fuel surcharge was based on the HDF Index. However,

in or about June or July of 2003, pursuant to its agreement with BNSF, UP switched to the HDF



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Index. From that point forward, BNSF and UP’s fuel surcharge programs resulted in application

of similar percentages, and both utilized a monthly percentage-based fuel surcharge based on the

HDF Index.

       45.     BNSF and UP conspired and agreed to use the HDF Index and apply a substantial

percentage-based fuel surcharge to their rail transportation contracts as widely and uniformly as

possible. BNSF and UP also agreed to apply the HDF Index in the same way. If the HDF Index

reported the average monthly price of diesel fuel at or above a certain per gallon “trigger price”

level, such as $1.35 per gallon, BNSF and UP each would apply a percentage-based surcharge in

similar increments above the trigger price.

       46.     BNSF and UP also coordinated the timing of their rail fuel surcharges. They

agreed to adjust the rail fuel surcharge for shipments made in the second month after the month

in which there was a change in the HDF Index average price. So, for example, the HDF Index

average price in January would determine the new rail fuel surcharge percentage announced by

BNSF and UP on February 1, and this percentage would apply to shipments in March. BNSF

and UP published their fuel surcharge percentages on their websites, making any deviation from

cartel pricing easily detectable. Pursuant to their agreement with CSX and NS, BNSF and UP

also sought to apply their fuel surcharges as widely as possible.

       47.     BNSF and UP simultaneously selected and adopted the same novel, arbitrary, and

complex combination of features for their rail fuel surcharge programs, including the same index

and similar trigger points, as well as the same timing for announcement and application of

changes in the HDF Index. The similarities are too precise and comprehensive to have been

independent responses to a common market phenomenon, especially considering BNSF and UP

had differing rate and cost structures, customer bases, fuel sources, and fuel costs.



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       48.     As further evidence of concerted conduct, in April 2003, just two months before

moving to the same fuel price index as BNSF, UP announced a modification to its existing fuel

surcharge formula: it changed the trigger points used for adjusting surcharges and began relying

on a monthly average of WTI prices, but UP did not change the WTI index used to monitor fuel

costs. Two months later, UP switched to the HDF Index and started imposing fuel surcharges

under a program very similar to that of BNSF.

       49.     At same time that UP and BNSF began to coordinate their fuel surcharges and

began pushing to impose them as broadly and uniformly as they could, Defendant CSX, pursuant

to the conspiracy, also announced that it would begin applying its fuel surcharge based on the

monthly average of WTI Index prices in the second prior month, a method that had also been

adopted by UP and BNSF, though using the HDF Index price. The similarities are too precise

and comprehensive to have been independent responses to a common market phenomenon,

especially considering the Defendant Railroads had differing rate and cost structures, customer

bases, fuel sources, and fuel costs.

       50.     Pursuant to the conspiracy, NS also agreed during 2003 to impose a percentage-

based fuel surcharge on contract traffic as broadly as possible. NS made certain revisions to its

fuel surcharge formula in early 2004, but could not immediately switch all contract traffic to the

revised formula because NS had previously encoded its original fuel surcharge directly in certain

publications and contracts – rather than simply citing to its published fuel surcharge formula –

which hampered its ability to rapidly change to its revised formula. Like CSX, NS used the WTI

Index for its program, with triggering prices that were analogous to those utilized by CSX,

BNSF, and UP. NS further realized that it would be much easier in the future to modify the fuel




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surcharge program applicable to contract traffic if the contracts simply referenced the NS fuel

surcharge tariff.

       51.     As a result, CSX and NS each implemented the Defendants’ prior agreement by

applying a substantial percentage-based fuel surcharge to their rail transportation contracts as

widely as possible. For many shipments, CSX and NS utilized functionally similar WTI trigger

prices. As the WTI price increased from the trigger prices, CSX’s and NS’s rates would be

adjusted upward by substantially similar percentage amounts. These concerted changes were

part of, and flowed from, the aforementioned agreements reached and implemented by

Defendants in late 2003.

       52.     For many shipments, CSX and NS also coordinated the timing for adjustments to

their rail fuel surcharges. For these shipments, they adopted the same timing as BNSF and UP,

i.e., two calendar months after any adjustment to the applicable fuel (HDF) or oil (WTI) index.

Thus, for example, if the WTI average price exceeded the triggering level in January, CSX and

NS would assess the applicable fuel surcharge percentage to all bills of lading dated in the month

of March. In this way, Defendants could coordinate application of the relevant fuel surcharge

percentage month after month. Like BNSF and UP, CSX and NS published their fuel surcharge

percentages on their websites to enable the other railroads to detect any deviation from the

agreed pricing and enforce the agreement. Defendants generally applied rail fuel surcharges as a

separate item on shippers’ bills. Fuel surcharges were not only included in contracts that

contained cost adjustment clauses based on the new AIILF index, but they were also

incorporated into contracts that continued to utilize the RCAF cost adjustment factor. In either

circumstance, Defendants used monthly changes to their rail fuel surcharges as an easy way to

increase revenues in an across-the-board manner.



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       53.     All Defendants agreed to implement percentage-based fuel surcharges as broadly

as possible, based on the reported price in a public fuel (HDF) or oil (WTI) index, rather than on

their actual fuel costs. For many shipments, NS and CSX went even further: they selected and

adopted the same novel, arbitrary, and complex combination of features for their rail fuel

surcharge programs – features that were also utilized by BNSF and UP. For these shipments, NS

and CSX utilized the same WTI Index for fuel surcharges, assessed a percentage-based fuel

surcharge to transportation rates based on the monthly average WTI Index level, and applied the

surcharge in the second calendar month after the monthly WTI Index figure was determined.

Defendants’ contemporaneous adoption of similar fuel surcharge programs reflected their

coordination and agreement to implement percentage-based fuel surcharges. The similarities,

and the coordination among the railroads, are too precise and comprehensive to have been

independent responses to a common market phenomenon or conditions.

       54.     While Defendants suggested that their rail fuel surcharges were imposed to

account for unanticipated increases in fuel prices, they were in reality merely coordinated price

increases. NS documents filed in In re Rail Freight Fuel Surcharge Antitrust Litigation reflect

that the fuel-based surcharges were a “blatant general rate increase” on customers. An internal

NS e-mail, dated April 29, 2003, includes the following statement:


• By dropping the base to $23 per barrel, raising the percentage yield and talking it sooner, the
  change is in fact a blatant general rate increase, and will appear so to customers.


(See In re Rail Freight Fuel Surcharge Antitrust Litigation, MDL Docket No. 1869, attached to

Doc. 705-17, NS 001000012, filed Feb. 10, 2014.)

       55.     Defendants’ rail fuel surcharges bore no direct relationship to Defendants’ actual

increases in fuel costs. The AII and RCAF both included a fuel cost component and would have

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permitted Defendants to recover all their increased fuel costs throughout the conspiracy. By

removing fuel costs from the newly applicable index (the AIILF) and adding a pretextual “fuel

surcharge” formula applied to the entire base rate, Defendants were able to drive revenue

increases far out of proportion to any actual increases in fuel costs. Thus, there was no

legitimate business justification or other innocent explanation for the collective action of the

Defendants to cause the AAR to adopt and publish the AIILF.

       56.     Defendants also used the fuel surcharge and the AIILF as a means to raise prices

by “re-basing,” whereby rail transportation base rates were raised along with the trigger price for

imposition of fuel surcharges. When shippers complained that, for example, a trigger of $23 or

$28 per barrel for WTI was leading to unfairly high surcharge recoveries as oil prices rose, the

railroads sometimes offered to increase the trigger price to, for example, $90 per barrel, but

insisted that the base rate be adjusted upward so that the all-in charges would remain the same as

they were at the lower trigger price. While this had the appearance of reducing the application of

fuel surcharges (because they would only be applied when the applicable fuel cost index reached

the new, higher trigger price), in reality Defendants were able to incorporate supracompetitive

prices previously obtained through fuel surcharges in the higher base rates. In other words, the

higher base rates were premised on Defendants’ unlawfully imposed fuel surcharges and

therefore generated higher revenues attributable to Defendants’ conspiracy.

       57.     Because of the Defendants’ concerted action, prices of rail freight transport were

increased above competitive levels, and freight shippers including Plaintiffs were forced to pay

artificially and unlawfully high prices for Defendants’ services.

          DEFENDANTS COLLECTIVELY CHANGE AII TO REMOVE FUEL

       58.     Even after agreeing to coordinate their fuel surcharges, Defendants faced an

obstacle to the imposition of fuel surcharges. Many contracts contained rate adjustment
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provisions that already accounted for railroads’ fuel costs by incorporating the RCAF or another

cost-based index that included changes in fuel costs. The Defendants agreed to solve this

problem by conspiring to remove fuel from the most widely utilized rate adjustment index,

thereby creating a new rail cost index without fuel known as the AIILF.

       59.     In furtherance of the previously-agreed conspiracy, Defendants initiated an effort

in the AAR in the fall of 2003 to remove fuel costs from the weighted RCAF and AII (which

already allowed Defendants to recover all their fuel costs), and thereby facilitate use of

artificially high rail fuel surcharges as a revenue enhancement mechanism. The “surcharge”

would be implemented as a percentage increase on the total rate for freight transport, regardless

of the actual cost of fuel. At AAR meetings and discussions in late 2003, Defendants agreed to

create and implement the AIILF, a new rail cost index that omitted fuel.

       60.     The AAR is (and was at all relevant times) based in Washington, D.C., and

describes itself as “the world’s leading railroad policy, research, standard setting, and technology

organization that focuses on the safety and productivity of the U.S. rail freight industry.” CSX

describes the AAR as “the central coordinating and research agency of the North American rail

industry.” The AAR is (and was at all relevant times) controlled by Defendants. The AAR

Board, of which Defendants’ CEOs are all members, meets regularly in Washington, D.C., and

board members communicate regularly between meetings.

       61.     Through their combination and conspiracy, Defendants caused the AAR to

announce the creation of the AIILF in December 2003. The AAR’s official publication of the

“AAR Railroad Cost Indexes” in March 2004 stated: “In this publication, the AAR also

calculates a version of the All-Inclusive Index that does not include fuel. This All-Inclusive

Index Less Fuel (AII-LF) is calculated exactly the same, with matching component indexes, as



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the All-Inclusive Index used with the RCAF – with the exception of the exclusion of the fuel

component.” The new AIILF specified the fourth quarter of 2002 as its base period. The

announcement of the AIILF and the underlying decision to create the new index were the result

of collective action by the Defendants, and neither could have happened without the conspiracy.

        62.     Defendants conspired to cause the AAR to inaugurate the AIILF in order to

facilitate the use of separate, stand-alone rail fuel surcharges, applied against the total rate

charged for rail freight transportation, and coordinated that practice. The creation of this new

index was an important, carefully planned step taken collectively by Defendants to foster and

continue their previously-agreed price-fixing conspiracy, a conspiracy that involved Defendants

imposing price increases on the entire rate for rail freight transport and thereby obtaining

additional revenues far beyond any actual increases in fuel costs.

        63.     The creation of the AIILF was a notable departure from past practice and marked

the first time that the AAR created a rail cost index without a fuel cost component. The new

index was not the result of a general change in assessing railroad industry cost factors, as the

STB-published RCAF continued to contain a fuel cost component. The reason for creation of the

AIILF was to enable Defendants to raise shipping prices and to implement their price-fixing

conspiracy by imposing percentage-based price increases on the entire rate for rail freight

transport. Defendants collectively decided to switch to a percentage-based fuel surcharge not

because it better tracked their costs than prior indexes, but because it did not.

        64.     BNSF admitted that it worked through the AAR to establish the new AIILF index

during a second quarter earnings conference call in July 2004. BNSF’s Chief Marketing Officer,

responding to a question about how BNSF could apply the new percentage-based fuel surcharges

in contracts with coal shippers, said it could do so because of the changes to the applicable



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indexes published by the AAR. Referring to BNSF’s Chairman, President, and CEO, the Chief

Marketing Officer stated, “What happened last year, and [BNSF] led the charge on this, is that

there’s a new index that [the AAR] has that’s basically an index without fuel. . . . So we’ll do

RCAF less fuel plus a direct fuel surcharge in the future.”

       65.     The Defendants’ collective action in December 2003 helped them impose a new,

separate, and artificially high rail fuel surcharge on their customers, which they could claim was

justified because fuel was no longer automatically covered by standard rate adjustment clauses.

As UP’s President and CEO admitted during an October 2004 earnings call, UP got “away from

the RCAF” and was “putting in the specified fuel recovery mechanism in areas that historically

would have used RCAF.”

             DEFENDANTS IMPLEMENT THE FUEL SURCHARGE SCHEME

       66.     Defendants’ agreement in 2003 to implement as broadly as they could a separate

rail fuel surcharge as a multiplier percentage of the base rate and remove fuel as a part of cost

adjustments in contracts was successfully implemented through Defendants’ collective action.

This meant that the fuel surcharge could operate as a means to impose an effective rate increase

and thereby raise revenues far beyond the actual costs of fuel (which could have been recovered

through cost indexes that tracked actual fuel prices). Defendants applied the rail freight

surcharges to published tariff rates, as well as private contracts and other traffic not subject to

rate regulation.

       67.     Defendants recognized the need for uniformity and collective action to implement

and maintain their rail fuel surcharge scheme. Evidence of their desire to implement and enforce

the scheme on a uniform basis exists in documents that have been made public. For example, in

a January 2004 e-mail, UP stated:



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 The Highway Diesel Fuel surcharge- policy is required for any new and renewed

 contracts min Industrial Products. ANY deviation born that poky requires
 advance sign-off Ivy Bob Thy. H           heard some rumors recently lhat people have
 been trying to "game" the system. Not a good idea.


(See In re Rail Freight Fuel Surcharge Antitrust Litigation, MDL Docket No. 1869, attached to

Doc. 705-30, UPFSC 0276597, filed Feb. 10, 2014.) Similarly, the minutes of a May 2003

meeting of the “NS-UP Alliance” make clear that Defendants intended to, and did, agree to act

collectively:

 Attendees:
 UP - Dick Davidson, Ike Evans, Dennis Duffy, Jack Koraleski, Brad King, Jim
 Young, Merill Bryan, John Gray, Woody Sutton, Jeff Koch     •

 NS - David Goode, Ike Prillaman, Jim McClellan, Don Seale, Steve Renken,
 Wick Moorman, Tony Ingram, Mark Manion, Mike McClellan          .
  automotive business going forward. Discussion followed on fuel surcharges and
  various application processes as used by different roads. Consensus was
  reached that it would be a positive outcome if all roads had the same process in
  the eyes of our customers. There was some question as to whether or not the
  industry can work together on this opportunity, probably through the MR, or do
  roads have to handle the opportunity on a bilateral basis. Follow up: UP - Jack
  Koraleski/Mike Hemmer, NS — Don Seale/Greg Summy

(See In re Rail Freight Fuel Surcharge Antitrust Litigation, MDL Docket No. 1869, attached to

Document 705-63, NS 001000361, filed Feb. 10, 2014.)

       68.      Defendants succeeded in implementing uniform fuel surcharges as a result of their

efforts. In furtherance of the conspiracy, BNSF and UP, using the HDF Index, charged

substantially identical rail fuel surcharges beginning in July 2003. CSX and NS also acted in

furtherance of the conspiracy by using the WTI Index to charge substantially similar rail fuel

surcharges, in a broad and coordinated fashion, starting in 2003. All four Defendants agreed to

implement percentage-based fuel surcharges as broadly as possible in the same general manner –

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as a percentage-based addition to the base transportation rate after triggering by the applicable

fuel (HDF) or oil (WTI) index.

       69.     Defendants incur differing fuel costs as a percentage of operating cost and have

differing fuel efficiency in the operation of their trains. Defendants’ use of matching fuel cost

indexes and contemporaneous implementation of their rail fuel surcharges indicates that they

were coordinating their behavior and conspired to fix prices for rail fuel surcharges. In addition,

Defendants’ announcements in advance of their surcharges, and the posting of surcharge

information on their websites, were important mechanisms for implementation and enforcement

of the conspiracy.

       70.     Defendants’ price increases were far higher than what could have been justified

by increases in what they actually paid for fuel. BNSF’s average cost of diesel fuel in Q3 2003

was $0.846 per gallon, and its average cost of diesel fuel for Q3 2004 was $0.988 per gallon.

Thus, BNSF’s cost of fuel increased 16.8% from Q3 2003 to Q3 2004. By contrast, the standard

BNSF fuel surcharge was based on an HDF level of $1.46 per gallon (far higher than what BNSF

was actually paying) in Q3 2003 and $1.83 per gallon in Q3 2004, a 25.3% increase. While

BNSF’s cost of fuel increased only 16.8% from Q3 2003 to Q3 2004, the HDF index (on which

the BNSF fuel surcharge was based) increased over 25% in the same time period. As a result of

this disparity, rail customers were paying a fuel surcharge based on an index fuel price that rose

far faster than the increase in BNSF’s actual fuel costs. Shippers similarly overpaid the other

Defendants during this and other periods, particularly because the inflated percentage increase

was applied to the entire rate at issue, not merely the fuel cost component of that rate.

       71.     The fuel surcharge levels also disregarded gains in fuel efficiency, another

indication that the rail fuel surcharges were not a natural reaction to increased fuel costs. As an



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AAR publication explained in 2007, Defendants’ fuel efficiency is “constantly improving.” For

example, BNSF announced in 2005 that it achieved a 9% improvement in fuel efficiency over

the prior decade. In 2006, railroads could move one ton of freight 423 miles on one gallon of

diesel fuel. By calculating fuel surcharges as a percentage of the shipping rate, Defendants

deflected attention from the cost savings they had achieved through efficiency gains.

       72.     Defendants’ actions were contrary to each of their respective independent

economic self-interest. Both fuel efficiency and actual fuel cost as a percentage of operating cost

differ widely among railroads and different rail routes and movements. In a competitive

environment, carriers with lower fuel costs would negotiate regarding application of fuel cost

adjustments in an effort to increase market share and revenues. Rather than engage in such

competitive behavior, Defendants instead restricted their freedom to price competitively and

broadly applied similar percentage-based fuel surcharges to the total rate for transportation.

Starting around 2003, Defendants generally refused to negotiate applicability of their rail fuel

surcharge programs, even when doing so would have allowed them to capture additional

business, revenue, and market share. Defendants’ conspiracy to decouple fuel costs from the

existing railroad cost indexes (such as RCAF and AII) was a method of achieving uniform

pricing and avoiding competition. Through their collective action, Defendants could use the

stand-alone rail fuel surcharge as an easy way to dramatically increase profits, so long as

Defendants complied by not competing on rail fuel surcharge prices or otherwise undercutting

one another.

       73.     Defendants’ discussions, communications, and meetings relating to fuel

surcharges, either directly or by and through the AAR or NFTA, did not concern the interline

movement of a rail carrier with one or more other rail carriers but were instead concerned with



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securing agreement upon, and adherence to, an unlawful scheme to eliminate price competition.

The discussions, communications, and meetings were conducted for the purpose of reaching

agreement on a uniform fuel surcharge methodology, divorced from fuel costs actually incurred

for any given rail movement, to which each Defendant’s adherence could be readily monitored

and whose application was independent of interline movements of any Defendant with another

Defendant. The foregoing conduct had nothing to do with facilitating interline movement of

traffic or acting together with respect to an interline rate or related matter but was, instead,

intended to eliminate price competition on all movement of traffic.

         74.     Railroad industry analysts and experts expressed concerns about the

“convergence” in Defendants’ rail fuel surcharge methodologies. One analyst concluded in 2003

that the rail fuel surcharges were “not supported” by fuel cost increases and said that she was

“puzzled by the fact that the railroads appear to be matching fuel surcharges rather than

developing their own pricing initiatives” as a “way to gain significant market share.”

(“Following the Competition,” Traffic World, July 14, 2003.) An independent 2007 study

commissioned by ACC and CURE found that Defendants’ rail fuel surcharge revenue exceeded

their publicly reported actual fuel costs between 2003 and early 2007 by over $6 billion. A 2010

joint report by the United States Departments of Agriculture and Transportation, titled “Study of

Rural Transportation Issues,” similarly found: “There is considerable evidence that railroad fuel

surcharges recovered more than the additional cost of fuel, artificially boosting railroad profits.

From 2001-2007, surcharges were 55 percent higher than the incremental increase in the cost of

fuel.”

         75.     Defendants’ coordinated implementation of fuel surcharges could not have been a

coincidence, and was not a rational response to business conditions that were affecting each



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railroad equally. Defendants’ purpose was to use recovery of fuel costs as a cover for

implementing what were, effectively, across-the-board rate increases.

       76.     The wide-spread imposition of the fuel charge mechanism was a change from past

industry practice. The President and CEO of UP stated in a July 2007 interview that the new rail

fuel surcharges as applied to rail freight were “really unique to the railroad industry. Three, four

years ago they were really non-existent.”

       77.     At or about the time Defendants agreed to impose rail fuel surcharges, they also

took other steps in furtherance of the conspiracy. For example, Defendants typically declined to

negotiate either the application of the fuel surcharges or significant discounts from the fuel

surcharges. Plaintiffs, as well as shippers from many different industries, including some with

substantial economic power, tried to negotiate the applicability of the fuel surcharge, but

Defendants took the position that rail fuel surcharges must apply.

       78.     Defendants also agreed not to use their increased revenues and profits to subsidize

the discounting of underlying rates to undercut agreed pricing or “steal” market share from each

other. As a result, Defendants’ relative market shares remained stable after the 2003 agreements.

                    STB FINDS RAIL FUEL SURCHARGES UNREASONABLE

       79.     On January 25, 2007, the STB issued an administrative decision concluding that

the Defendants’ practice of computing rail fuel surcharges as a percentage of base rates for rate-

regulated rail freight transport was an “unreasonable practice” because such fuel surcharges were

not tied to the fuel consumption associated with the individual movements to which they were

applied.

       80.     The STB found that “a fuel surcharge program that increases all rates by a set

percentage stands virtually no prospect of reflecting the actual increase in fuel costs . . . [The

railroads’ fuel surcharge program was] a misleading and ultimately unreasonable practice,”
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because “there is no real correlation between the rate increase and the increase in fuel costs for

that particular movement to which the surcharge is applied.” Rail Fuel Surcharges, STB Ex

Parte No. 661 (served January 26, 2007), slip op. at p. 6-7. Although the STB was considering

only rate-regulated freight traffic which is not at issue here, the STB’s findings and opinion

support Plaintiffs’ allegations.

        81.     In furtherance of the conspiracy, Defendants applied the same unreasonable fuel

surcharge practices addressed by the STB to the private rail freight transportation contracts, and

other unregulated freight transport, at issue in this case. The fuel surcharges the railroads had

imposed in their tariffs for rate-regulated traffic were substantially similar, if not identical, to

those they were foisting on their customers who were moving freight under rate-unregulated

arrangements.

                      DEFENDANTS’ SUPRACOMPETITIVE PROFITS

        82.     As a result of the success of their conspiracy, Defendants reaped huge,

supracompetitive profits. They realized billions of dollars in revenue in excess of their actual

increases in fuel costs from the specific customers on whom they imposed the surcharge. From

July 2003 until the end of 2008, Defendants increased their market capitalization from

approximately $40 billion to approximately $71 billion, a 78% increase. During the same

period, the S&P 500, a broad-based stock index, declined by approximately eight percent. The

AAR Policy and Economics Department reported that railroad total operating revenue in the

United States increased from $36.6 billion in 2003 to more than $52 billion in 2006 and

approximately $61 billion in 2008. These dramatic increases are at least in part attributable to

fuel surcharge revenue realized by Defendants through their price-fixing conspiracy. As the

President and CEO of UP admitted in 2007, “it’s only been in the last couple of years that . . . the

financial returns in this business has [sic] started to move in the right direction.”
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       83.      The unlawful conduct, combination, or conspiracy alleged herein has had the

following effects, among others:

             (a) The rail fuel surcharges charged to Plaintiffs have raised, fixed, or stabilized

                prices and resulted in supracompetitive prices for unregulated rail freight

                transportation;

             (b) Plaintiffs have been deprived of the benefits of free, open, and unrestricted

                competition in unregulated rail freight transportation; and

             (c) Competition in establishing the prices paid in the United States for unregulated

                rail freight transportation has been unlawfully restrained, suppressed, and

                eliminated.

                      ANTITRUST INJURY – IMPACT ON PLAINTIFFS

       84.      During all relevant times addressed herein, Plaintiffs operated multiple coal-fired

steam-generating electric power plants and sourced coal from mines throughout the United

States. Many power plants were further divided into separate operating units, and individual

operating units sometimes had different characteristics. Coal for steam generation was

transported on unit trains, often with more than 100 cars, in most cases without any substitution

or unloading of cars between the mine and the plant. There were often no economically feasible

alternatives to rail transportation of coal. Because of the volume of coal consumed at each plant

and the overland distance between a plant and the mine or mines from which coal was sourced,

other means of transportation were grossly inefficient, prohibitively expensive, or otherwise

foreclosed. Plaintiffs had no economic alternative but to purchase rate-unregulated rail

transportation services from Defendants for delivery of coal to their plants, and rail

transportation of coal pursuant to private contracts is a relevant service market.



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            85.       Railroads have historically derived more revenue from the shipment of coal than

from any other single commodity. In 2008, for example, gross revenue from coal exceeded $14

billion for Class I railroads, and coal accounted for more than 24% of the total revenue of the

five largest railroads.2

            86.       Plaintiffs purchased different types of coal, depending upon design features,

emission controls, and other relevant equipment at the operating units within a given plant.

Plaintiffs needed to obtain the appropriate coal, with the correct specifications, to correlate with

the particular characteristics of the destination coal-burning units. Some units were restricted to

burning only lower sulfur coal, while other units may have been able to burn coal with a higher

sulfur content. Other coal specifications were also critical, including BTU rating, ash content,

moisture, and various metals, minerals, and other trace elements. Plaintiffs sourced coal for each

plant from multiple mines, and they typically entered into long-term supply contracts with mine

operators to ensure the uninterrupted flow of coal with the characteristics appropriate to each

plant. Plaintiffs purchased low-sulfur, high-BTU coal from mines in Colorado and Utah, low-

sulfur, low-BTU coal from the Powder River Basin (in Wyoming and Montana), and

comparatively high-sulfur, high-BTU coal from mines east of the Mississippi River, including

those in the Illinois Basin, Alabama, Kentucky, Virginia, West Virginia, and other states. The

contiguous 48 states constitute the geographic market within which Plaintiffs could turn for the

purchase of services for transportation of coal by unit trains from mines to their plants.3




2   Ass’n of American Railroads, “Railroads and Coal,” at 7 (June 2017), available at https://www.aar.org.
3   Infrequently, Plaintiffs purchased import coal that was transported by Defendants from one or more port areas.




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        87.     Defendants’ violations of Section 1 of the Sherman Act have unlawfully

restrained trade in the market for transportation of coal by unit trains to coal-fired power plants

in the foregoing geographic market and have injured Plaintiffs in their business and property.

Plaintiffs have paid for rail freight transportation at prices above what would have been charged

in a competitive market as a result of Defendants’ illegal contract, combination, or conspiracy to

restrain trade as alleged in detail herein. This is an antitrust injury of the type that the federal

antitrust laws were meant to punish and prevent.

        88.     APC was a party to numerous rail transportation agreements with Defendants by

and after 2003 (such as contracts with BNSF, NS, and CSX), and these agreements included the

unlawful percentage-based fuel surcharges described herein. The percentage-based fuel

surcharges were imposed by Defendants in these agreements as a result of, and in furtherance of,

Defendants’ conspiracy, and injured APC.

        89.     GPC was a party to numerous rail transportation agreements with Defendants in

and after 2003 (such as contracts with NS, CSX, and UP), both in its own name and as the

successor-in-interest to Savannah Electric, as well as the contracting agent for and/or assignee of

co-owners of Plants Scherer and Wansley, and these agreements included the unlawful

percentage-based fuel surcharges described herein. The percentage-based fuel surcharges were

imposed by Defendants in these agreements as a result of, and in furtherance of, Defendants’

conspiracy, and injured GPC and the co-owners.

        90.     MPC was a party to numerous rail transportation agreements with Defendants in

and after 2003 (such as contracts with UP and BNSF), and these agreements included the

unlawful percentage-based fuel surcharges described herein. The percentage-based fuel




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surcharges were imposed by Defendants in these agreements as a result of, and in furtherance of,

Defendants’ conspiracy, and injured MPC.

                                    COUNT I
                    ILLEGAL CONSPIRACY IN RESTRAINT OF TRADE

       91.      Plaintiffs incorporate by reference the allegations in the above paragraphs as if

they were fully set forth herein.

       92.      Defendants entered into and engaged in a contract, combination, or conspiracy in

unreasonable restraint of trade in violation of Section 1 of the Sherman Act.

       93.      The contract, combination, or conspiracy resulted in an agreement, understanding,

or concerted action between and among Defendants in furtherance of which Defendants fixed,

maintained, and standardized prices for rail fuel surcharges for rail freight transportation handled

through private contracts and other means exempt from regulation. Such contract, combination,

or conspiracy constitutes a per se violation of the federal antitrust laws and is, in any event, an

unreasonable and unlawful restraint of trade in the market for the rail transportation of coal from

mines to coal-fired steam generating electric power plants in the 48 contiguous states.

       94.      Defendants’ contract, combination, agreement, understanding, or concerted action

occurred within the flow of, and substantially affected, interstate commerce. Defendants’

unlawful conduct was through mutual understandings or agreements, by, between, and among

Defendants.

       95.      The contract, combination, or conspiracy has had the following effects:

             (a) Prices charged to Plaintiffs for rate-unregulated rail freight transportation were

                fixed and/or maintained at supracompetitive levels as a result of rail fuel

                surcharges applied as a percentage of base rates;




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             (b) Plaintiffs were deprived of the benefits of free, open, and unrestricted competition

                in the market for rail freight transportation services; and

             (c) Competition establishing the prices paid, customers of, and territories for rail

                freight transportation services has been unlawfully restrained, suppressed, and

                eliminated.

       96.      As a proximate result of Defendants’ unlawful conduct, Plaintiffs have suffered

injury in that they have paid supracompetitive prices for rate-unregulated rail freight

transportation services.

       WHEREFORE, Plaintiffs pray for relief as follows:

       1)       That the unlawful contract, combination, and conspiracy alleged in Count I be

                adjudged and decreed to be an unreasonable restraint of trade or commerce in

                violation of Section 1 of the Sherman Act;

       2)       That Plaintiffs recover compensatory damages, as provided by law, determined to

                have been sustained as to each of them, and that judgment be entered against

                Defendants on behalf of Plaintiffs;

       3)       That each of Defendants and their respective officers, directors, agents, and

                employees, and all other persons acting on behalf of or in concert with them, be

                permanently enjoined and restrained from, directly or indirectly, continuing or

                maintaining the combination, conspiracy, or agreement alleged in this case;

       4)       That Plaintiffs recover treble damages, as provided by law;

       5)       That Plaintiffs recover their costs of the suit, including attorneys’ fees and

                interest, as provided by law; and

       6)       For such further relief as the Court may deem just and proper.



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                                    DEMAND FOR JURY TRIAL

        Pursuant to Rule 38(a) of the Federal Rules of Civil Procedure, Plaintiffs demand a jury

trial as to all issues triable by jury.



Dated: October 2, 2019                       THOMPSON HINE LLP

                                            By:    /s/ Sandra L. Brown
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